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                                                                                                                                   FILED
                                                                                                                                   7/6/2021 11:02 AM
                                                                                              1                                    IRIS Y. MARTINEZ
                                                                                                                                   CIRCUIT CLERK
                                                                                                                                   COOK COUNTY, IL
                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FILED DATE: 7/6/2021 11:02 AM 2021L006829




                                                                    COUNTY DEPARTMENT, LAW DIVISION                                13924833


                                            MICHAEL BROWN,                                        )
                                                                                                  )
                                                                   Plaintiff,                     )
                                                                                                  )             2021L006829
                                                                   Vs.                            )       No.
                                                                                                  )
                                            LYFT INC., a Delaware Corporation,                    )
                                                                                                  )
                                                                   Defendant.                     )

                                                                              FIRST AMENDED COMPLAINT

                                                                                         COUNT I

                                                   Now comes the Plaintiff, MICHAEL BROWN, by and through his attorneys, LAW

                                            OFFICE OF HOWARD S. ABRAMS LLC., and complains of the Defendant, LYFT INC., as

                                            follows:

                                                   1. That at all times herein mentioned the Defendant, LYFT INC., was a corporation

                                            licensed to do business under the laws of the State of Illinois.

                                                   2. That at all times herein mentioned the Defendant, LYFT INC., manufactured and

                                            distributed motorized scooters.

                                                   3. That at all times herein mentioned the Defendant, LYFT INC., owed a duty to the

                                            Plaintiff to exercise reasonable care to design, test, manufacture, and distribute electric scooters

                                            that was suitable for its intended usage.

                                                   4. That the Defendant, LYFT INC., knew or should have known that the electric scooters

                                            were not reasonably safe as designed, manufactured, tested, marketed and sold in that the electric

                                                                                                                             Exhibit A
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                                                                                            2
                                            scooter accelerated on its own and the handlebars to shake and jerk which caused the Plaintiff to
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                                            fall.

                                                      5. That at all times herein mentioned the Defendant, LYFT INC., individually and

                                            through its agents and employees, was negligent in one or more of the following ways:

                                                              a. Carelessly and negligently designed, manufactured, sold and
                                                      distributed electric scooters;

                                                             b. Carelessly and negligently failed to properly test the electric scooters it
                                            distributed;

                                                             c. Failed to warn the Plaintiff that the electric scooters could accelerate on their
                                            own;

                                                      6. That on July 13, 2019, the Plaintiff, MICHAEL BROWN, was using an electric

                                            scooter in accordance with the instructions provided by the Defendant LYFT INC.

                                                      7. That on July 13, 2019, while properly using the electric scooter it accelerated on its

                                            own and caused the handlebars to shake which caused the Plaintiff to fall.

                                                      8. That as a direct and proximate result thereof the Plaintiff, MICHAEL BROWN, was

                                            injured in his head, body and limbs, both internally and externally and he suffered bodily pain

                                            and injury from then until now and will continue so to suffer in the future; that he has expended

                                            and will in the future be compelled to expend large sums of money in endeavoring to be cured of

                                            his said injuries; that he has lost and will in the future lose large sums of money by reason of

                                            being unable to follow his usual occupation as a result of said injuries.

                                                      WHEREFORE, Plaintiff, MICHAEL BROWN, prays this Honorable court for Judgment

                                            against the Defendant, LYFT INC., in such sum of money in excess of FIFTY THOUSAND

                                            ($50,000.00) DOLLARS, which shall constitute fair and reasonable compensation for Plaintiff’s

                                            injuries.
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                                                                             COUNT II - STRICT LIABILITY
                                                                                      LYFT INC.

                                                    Now comes the Plaintiff, MICHAEL BROWN, by and through his attorneys, LAW

                                            OFFICE OF HOWARD S. ABRAMS LLC., and complains of the Defendant, LYFT INC., as

                                            follows:

                                                    1. That at all times herein mentioned the Defendant, LYFT INC., was a corporation

                                            licensed to do business under the laws of the State of Illinois.

                                                    2. That at all times herein mentioned the Defendant, LYFT INC., manufactured and

                                            distributed electric scooters.

                                                    3. That the Plaintiff never knew and never should have known of the defective and

                                            unreasonably dangerous condition of the aforesaid electric scooter.

                                                    4. That the Defendant withheld and concealed from the purchaser and intended user that

                                            the electric scooters was unsafe to use.

                                                    5. That by the conduct of the Defendant, LYFT INC., in not disclosing the defects the

                                            user was not informed that the electric scooter was defective as designed and manufactured,

                                            which was causally related to the injuries sustained by the Plaintiff.

                                                    6. That at the time the electric scooter accelerated on its own it was in the same condition

                                            as when it was manufactured and released.

                                                    7. That at the time the electric scooters left the control of the Defendant, LYFT INC., it

                                            was in a reasonably dangerous condition in one or more of the following respects.

                                                           a. The electric scooter did not function as advertised, to-wit: the electric scooter
                                            accelerated on its own during intended usage;
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                                                                                             4
                                                           b. The electric scooter did not operate for the use it was intended.
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                                                    8. That on July 13, 2019, the Plaintiff, MICHAEL BROWN, was using an electric

                                            scooter in accordance with the instructions.

                                                    8. That on July 13, 2019, while using the electric scooter it accelerated on its own and

                                            caused the handlebars to shake which caused the Plaintiff to fall.

                                                    9. That as a direct and proximate result thereof the Plaintiff, MICHAEL BROWN, was

                                            injured in his head, body and limbs, both internally and externally and he suffered bodily pain

                                            and injury from then until now and will continue so to suffer in the future; that he has expended

                                            and will in the future be compelled to expend large sums of money in endeavoring to be cured of

                                            his said injuries; that he has lost and will in the future lose large sums of money by reason of

                                            being unable to follow his usual occupation as a result of said injuries.

                                                    WHEREFORE, Plaintiff, MICHAEL BROWN, prays this Honorable court for Judgment

                                            against the Defendant, LYFT INC., in such sum of money in excess of FIFTY THOUSAND

                                            ($50,000.00) DOLLARS, which shall constitute fair and reasonable compensation for Plaintiff’s

                                            injuries.

                                                                  COUNT III - BREACH OF IMPLIED WARRANTY
                                                                                  LYFT INC.

                                                    Now comes the Plaintiff, MICHAEL BROWN, by and through his attorneys, LAW

                                            OFFICE OF HOWARD S. ABRAMS LLC., and complains of the Defendant, LYFT INC., as

                                            follows:

                                                    1. That at all times herein mentioned the Defendant, LYFT INC., was a corporation

                                            licensed to do business under the laws of the State of Illinois.
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                                                                                             5
                                                    2. That at all times herein mentioned the Defendant, LYFT INC., manufactured and
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                                            distributed electric scooters.

                                                    3. That the Plaintiff never knew and never should have known of the defective and

                                            unreasonably dangerous condition of the aforesaid electric scooter.

                                                    4. That at all times herein mentioned the Defendant owed the Plaintiff a duty to exercise

                                            reasonable care to design, test, manufacture and sell the electric scooters so that it was safe and

                                            suitable for its intended usage.

                                                    5. That the Defendant, LYFT INC., knew or should have known that the aforesaid

                                            electric scooter was not reasonably safe as designed, manufactured, tested, marketed and sold in

                                            that it accelerated on its own while being used for its intended purpose.

                                                    6. That the Defendant, LYFT INC., knew the ordinary purpose for which the electric

                                            scooters would be used and the Plaintiff, MICHAEL BROWN, relied upon the skill and

                                            judgment of the Defendant in manufacturing the aforesaid electric scooter.

                                                    7. That the Defendant, LYFT INC., warranted by implication at the time of sale that the

                                            aforesaid electric scooter would be reasonably fit, sufficient and of merchantable quality for its

                                            intended purpose.

                                                    8. That the Defendant, LYFT INC., breached its implied warranty by its selection and

                                            manufacture of an electric scooters that was unfit and unsuitable for its original purpose for

                                            which it was intended.

                                                    9. That the unfitness of the electric scooters existed at the time of its usage by the

                                            Plaintiff and continued until the time he was injured on July 13, 2019.
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                                                    10. That on July 13, 2019, the Plaintiff, MICHAEL BROWN, was using an electric
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                                            scooter in accordance with the instructions.

                                                    11. That on July 13, 2019, while properly using the electric scooter it accelerated on its

                                            own and caused the handlebars to shake which caused the Plaintiff to fall.

                                                    12. That as a direct and proximate result thereof the Plaintiff, MICHAEL BROWN, was

                                            injured in his head, body and limbs, both internally and externally and he suffered bodily pain

                                            and injury from then until now and will continue so to suffer in the future; that he has expended

                                            and will in the future be compelled to expend large sums of money in endeavoring to be cured of

                                            his said injuries; that he has lost and will in the future lose large sums of money by reason of

                                            being unable to follow his usual occupation as a result of said injuries.

                                                    WHEREFORE, Plaintiff, MICHAEL BROWN, prays this Honorable court for Judgment

                                            against the Defendant, LYFT INC., in such sum of money in excess of FIFTY THOUSAND

                                            ($50,000.00) DOLLARS, which shall constitute fair and reasonable compensation for Plaintiff’s

                                            injuries.

                                                                                           By: /s Howard S. Abrams
                                                                                                   Attorney for Plaintiff



                                            Attorney Code: 60046
                                            Law Office of Howard S. Abrams LLC
                                            19 S La Salle, Suite 1203
                                            Chicago, IL 60603
                                            312-985-7368
                                            312-896-9480
                                            howard@howardabramslaw.com
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                                                                                                                                       IRIS Y. MARTINEZ
                                                                                                                                       CIRCUIT CLERK
                                                                                                                                       COOK COUNTY, IL
                                                                                              7
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                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                    COUNTY DEPARTMENT, LAW DIVISION

                                            MICHAEL BROWN,                                        )
                                                                                                  )
                                                                   Plaintiff,                     )
                                                                                                  )
                                                                   Vs.                            )       No. 2021L006829
                                                                                                  )
                                            LYFT INC., a Delaware Corporation                     )
                                                                                                  )
                                                                   Defendant.                     )


                                                                                       AFFIDAVIT

                                                   The undersigned, one of the Attorneys for the Plaintiffs herein, states that this is a civil

                                            action seeking money damages in excess of FIFTY THOUSAND ($50,000.00) DOLLARS.

                                                   Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil

                                            Procedure, the undersigned certifies that the statements set forth in this instrument are true and

                                            correct except as to matters therein stated to be on information and belief and as to such matters

                                            the undersigned certifies as aforesaid that he verily believes that same to be true.


                                                                                          By: /s Howard S. Abrams
                                                                                                  Attorney for Plaintiff



                                            Attorney Code: 60046
                                            Law Office of Howard S. Abrams LLC
                                            19 S La Salle, Suite 1203
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048920/20173/RCH/ELA/JFM

                     IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

MICHAEL BROWN,

                       Plaintiff,

v.                                                     Case Number:
LYFT, INC. a Delaware Corporation.

                       Defendant.

                   DECLARATION OF ATTORNEY JAMES F. MARUNA

       I, James F. Maruna, declare that I have personal knowledge of the facts set forth herein,

that I am competent to testify, and that if called to testify, would state as follows:

       1.      I am one of the attorneys of record for Defendant Lyft, Inc.

       2.      Because Plaintiff’s Complaint at Law filed in Cook County Circuit Court does not

state Plaintiff’s citizenship, I contacted Plaintiff’s counsel via phone and spoke with counsel on

August 30, 2021 and August 31, 2021 to discuss Plaintiff’s citizenship and secure information on

the claimed damages in order to assess the amount in controversy.

       3.      Counsel confirmed that Plaintiff is an Illinois citizen.

       4.      As to damages, Plaintiff estimated the medical bills are around $20,000 based on

what is received and outstanding, with ER treatment and follow up with a pain management

physician. Additionally, Plaintiff claims scarring, loss of use of the ankle, and past and future

lost wages and reduced earning capacity in his career as a trainer and boxer.

       5.      Finally, defense counsel advised that in his estimate there is more than $75,000 in

controversy, but if Plaintiff would sign an affidavit that he would never seek more than $75,000

in this lawsuit then Defendant would not, and could not, remove this matter to Federal Court.

Plaintiff advised that he could not agree to sign an affidavit or other document limiting his

recovery in this litigation to $75,000 or less.
                                                                                   Exhibit B
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        6.       Further declarant sayeth not.

I, James F. Maruna, declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed on this 31st day of August, 2021



                                                 s/James F .Maruna

                                                 James F. Maruna

9948680 JMARUNA;JMARUNA




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                                                             Exhibit C
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